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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                 Case No.: 3:14cr98/MCR

ANTONIO BLACKWELL
DEXTER A. LOCKE
_____________________________________________________________________

                           REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

       The Defendants, by consent, have appeared before me pursuant to Rule 11, Fed. R. Crim.
P., and have entered a plea of guilty to Counts I and II of the Superseding Indictment. After
cautioning and examining the Defendants under oath concerning each of the subjects mentioned in
Rule 11, I determined that the guilty pleas were knowing and voluntary, and that the offenses
charged are supported by an independent basis in fact containing each of the essential elements of
each offense. I therefore recommend that the pleas of guilty be accepted and that the Defendants
be adjudicated guilty and have sentence imposed accordingly.



Dated: January 22, 2015                      /s/ Elizabeth M. Timothy
                                             ELIZABETH M. TIMOTHY
                                             CHIEF UNITED STATES MAGISTRATE JUDGE

                                            NOTICE

       Any objections to these proposed findings and recommendations must be filed within
twenty four (24) hours after being served a copy thereof. Any different deadline that may
appear on the electronic docket is for the court’s internal use only, and does not control. A
copy of objections shall be served upon all other parties. Failure to object may limit the scope
of appellate review of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d
698, 701 (11th Cir. 1988).
